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STATE OF NORTH DAKOTA IN DISTRICT COURT
COUNTY OF GRAND FORKS NORTHEAST CENTRAL JUDICIAL DISTRICT
BRIAN BALSTAD, )
)
Plaintiff, ) Civil No. 18-08-C-00502
)
VS. )
)
UPTOWN HOSPITALITY, INC., dba ) SECOND AMENDED S
«« ” FILED IN THE OFF!
wan AME and KEVIN SCOTT ) CLERK OF DISTRICT COURT
AMP, JR., GRAND FORKS COUNTY, N. DAK. ON
Defendants. )

AUG 2 1 2009

 

 

 

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REBECCA ABSEY, CLERK {
BY

 

COMES NOW, the Plaintiff, Brian Balstad, by and through his legal counsel, for Meo]

cause of action against the above-named Defendants hereby alleges and states as follows:

L
The Defendant Uptown Hospitality, Inc., dba Sledsters, (hereinafter “Sledsters”) is a
corporation duly organized under the laws of the State of North Dakota engaged in the business
of selling liquor with its principal place of business located at 21 South 4% Street, Grand Forks,
North Dakota, and at all times material to this action was conducting business in the City of
Grand Forks and the State of North Dakota and continues to remain active and in good standing.
Kevin Scott Vancamp, Jr., 911 Cottonwood, Apt. #104, Grand Forks, ND 58201, was an

employee of Sledsters at all times relevant to this proceeding.

Il.

On or about the 24 day of September, 2007, as a result of negligence, arising out of an
accident, incident, or occurrence occurring at and on the premises known as “Sledsters” located
at 21 South 4" Street, Grand Forks, North Dakota, the Plaintiff sustained substantial injury
including but not limited to substantial emotional, physical, and psychological injury.

 
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TI.
At the time the Plaintiff was injured, all employees of “Sledsters” were acting within
their scope of employment, and therefore, their actions are imputable to Defendant Uptown

Hospitality Inc. dba “Sledsters” under the doctrine of Respondeat Superior.

CAUSE OF ACTION: NEGLIGENCE

IV.
Paragraphs I through III of this Complaint are realleged as though wholly set forth herein.

V.
The Defendants had a duty to refrain from operating “Sledsters” in a negligent manner, to
refrain from negligently injuring the Plaintiff, and to take reasonable action to prevent and/or

intervene and impede any acts which would cause the Plaintiff to suffer injury.

VI.
The Defendants breached their duty by acting negligently, carelessly, and recklessly and

by failing to exercise reasonable care.

VIL
As a direct and proximate result of the negligence of the Defendants, the Plaintiff
suffered and continues to suffer substantial emotional, physical, and psychological injury which

required and continues to require professional medical and psychological treatment.

WHEREFORE, the Plaintiff prays for relief as follows: 1) that Judgment be entered in
the Plaintiffs favor and against the above-named Defendants in a sum greater than Fifty
Thousand and no/100 DOLLARS ($50,000.00), plus interest, to compensate the Plaintiff for the
injuries sustained; 2) for the award of the attorney’s fees, costs, and disbursements the Plaintiff
incurred incident to the above-titled matter; and 3) for all such other relief this court deems just

and proper.
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DATED this2 7day of June, 2009.

CSL

Ronald 1. Galstad, ND ID 05133
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1312 Central Avenue NE

P.O. Box 386

East Grand Forks, MN 56721
Telephone: (218) 773-9729

Facsimile: (218) 773-8950

 

ATTORNEY FOR PLAINTIFF

DEMAND FOR TRIAL BY JURY

 

The Plaintiff hereby respectfully demands a jury of nine (9) persons or the maximum

number of persons allowed by law.

Balstad, Brian SECOND AMENDED COMPLAINT

SNE

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ATTORNEY FOR PLAINTIFF
